      Case 1-18-43391-cec             Doc 12       Filed 06/20/18    Entered 06/20/18 07:57:28




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re

JEMELA RUBY DANIELS,                                                Case No. 1-18-43391-cec
                                                                    Chapter 7

                           Debtor.
-----------------------------------------------------------X

                        STATEMENT PURSUANT TO E.D.N.Y. LBR 2017

        I, Anthony M. Vassallo, an attorney admitted to practice in this Court, states that:

1.      I am the attorney for the above-named debtor and am fully familiar with the facts herein.

2.     Prior to the filing of the debtor’s petition, my firm rendered the following services to the
above-named debtor:

                         Date/Time Prepetition Services provided to Debtor

        4/27/18       Initial interview, analysis of financial condition, review of documents,
                      discussions with client, etc.                                            1.60

        5/12/18       Preparation of draft petition and supporting documents                   2.00

        6/7/18        Meeting with Debtor for final review, signing and approval for filing 1.50

3.      My firm will also represent the debtor at the first meeting of creditors and in proceedings
before this Court consistent with the Local Bankruptcy Rules.

4.      All services rendered prior to the filing of the petition herein were rendered by my firm.

5.      My usual rate of compensation of bankruptcy matters of this type is $250/hour.

Dated: June 19, 2018
                                                     /s/ Anthony M. Vassallo
                                                     Anthony M. Vassallo, Esq.
                                                     Law Office of Anthony M. Vassallo
                                                     305 Fifth Avenue | Suite 1B
                                                     Brooklyn, NY 11215
                                                     (917) 862-1936
